Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 1 of 17




                 EXHIBIT A
       Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 2 of 17




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


WSOU INVESTMENTS, LLC D/B/A                           Nos. 6:20-cv-00812-ADA
BRAZOS LICENSING AND DEVELOPMENT,                          6:20-cv-00813-ADA
                                                           6:20-cv-00814-ADA
               Plaintiff,                                  6:20-cv-00815-ADA
                                                           6:20-cv-00902-ADA
       v.                                                  6:20-cv-00903-ADA
JUNIPER NETWORKS, INC.,

       Defendant.


                                      PROTECTIVE ORDER

       WHEREAS, plaintiff WSOU Investments LLC d/b/a Brazos Licensing and Development and

defendant Juniper Networks, Inc., hereafter referred to as “the Parties,” believe that certain

information that is or will be encompassed by discovery demands by the Parties involves the

production or disclosure of trade secrets, confidential business information, or other proprietary

information;

       WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

Federal Rule of Civil Procedure 26(c):

       THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

       any document, information or material that constitutes or includes, in whole or in part,

       confidential or proprietary information or trade secrets of the Party or a Third Party to whom

       the Party reasonably believes it owes an obligation of confidentiality with respect to such

       document, information or material (“Protected Material”). Protected Material shall be

       designated by the Party producing it by affixing a legend or stamp on such document,

       information or material as follows: “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –


                                                 1
       Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 3 of 17




      ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

      The appropriate designation shall be placed clearly on each page of the Protected Material

      (except deposition and hearing transcripts and natively produced documents) for which such

      protection is sought.   For deposition and hearing transcripts, the appropriate designation

      shall be placed on the cover page of the transcript (if not already present on the cover page

      of the transcript when received from the court reporter) by each attorney receiving a copy

      of the transcript after that attorney receives notice of the designation of some or all of

      that transcript is designated as containing Protected Material. For natively produced

      Protected Material, the appropriate designation shall be placed in the filename of each such

      natively produced document.

2.    Any document produced before issuance of this Order, including under the Court’s Order

      Governing Proceedings, with the designation “CONFIDENTIAL” or “HIGHLY

      CONFIDENTIAL – ATTORNEYS’ EYES ONLY” (or the like) shall receive the same

      treatment as if designated “CONFIDENTIAL,” or “HIGHLY CONFIDENTIAL –

      ATTORNEYS’ EYES ONLY,” respectively, under this Order, unless and until such

      document is re-designated to have a different classification under this Order.

3.    With respect to documents, information, or material designated “CONFIDENTIAL,”

      “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY

      CONFIDENTIAL SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the

      provisions herein and unless otherwise stated, this Order governs, without limitation: (a) all



1
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE,” both
individually and collectively.


                                                2
     Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 4 of 17




     documents, electronically stored information, and/or things as defined by the Federal Rules

     of Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as

     exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to

     pleadings and other court filings; (d) affidavits; and (e) stipulations.          All copies,

     reproductions, extracts, digests and complete or partial summaries prepared from any

     DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

     treated as such under this Order.

4.   A     designation   of   Protected    Material    (i.e.,   “CONFIDENTIAL,”         “HIGHLY

     CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

     SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

     documents, information or material that has not been designated as DESIGNATED

     MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

     treatment.   Any Party that inadvertently or unintentionally produces Protected Material

     without designating it as DESIGNATED MATERIAL may request destruction of that

     Protected Material by notifying the recipient(s), as soon as reasonably possible after the

     producing Party becomes aware of the inadvertent or unintentional disclosure, and

     providing replacement Protected Material that is properly designated. The recipient(s) shall

     then destroy all copies of the inadvertently or unintentionally produced Protected Materials

     and any documents, information or material derived from or based thereon.

5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the producing Party,

     upon order of the Court, or as set forth in paragraph 14 herein:

     (a)     Outside counsel of record in this Action for the Parties, and outside counsel retained
             for the purpose of this litigation.



                                               3
        Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 5 of 17




       (b)     Outside counsel’s paralegals, attorneys, and staff, working at the direction of such
               outside counsel that are assigned to and reasonably necessary to assist such
               counsel in the litigation of this Action.

       (c)     In-house counsel for the Parties who either have responsibility for making decisions
               dealing directly with the litigation of this Action, or who are assisting outside
               counsel in the litigation of this Action and who have read and agree to be bound by
               this Order.

       (d)     Up to and including three (3) designated representatives of each of the Parties to the
               extent reasonably necessary for the litigation of this Action, provided that before
               access is given, the designated representative has completed the Undertaking
               attached as Exhibit A hereto and the same is served upon the producing Party.
               Either Party may in good faith request the other P arty’s consent to designate
               one or more additional representatives, the other Party shall not unreasonably
               withhold such consent, and the requesting Party may seek leave of Court to
               designate such additional representative(s) if the requesting Party believes the other
               Party has unreasonably withheld such consent.

       (e)     Outside consultants or experts (i.e., not existing employees or affiliates of a Party or
               an affiliate of a Party) retained for the purpose of this litigation, provided that:
               (1) such consultants or experts are not presently employed by the Parties hereto for
               purposes other than this Action; (2) before access is given, the consultant or expert
               has completed the Undertaking attached as Exhibit A hereto and the same is served
               upon the producing Party with a current curriculum vitae2 of the consultant or expert
               at least seven (7) days before access to the Protected Material is to be given to that
               consultant to object to and notify the receiving Party in writing that it objects to
               disclosure of Protected Material to the consultant or expert. The Parties shall
               promptly confer and use good faith to resolve any such objection. If the Parties are
               unable to resolve any objection, the objecting Party may file a motion with the Court
               within seven (7) days of the notice, or within such other time as the Parties may agree,
               seeking a protective order with respect to the proposed disclosure. The objecting
               Party shall have the burden of proving the need for a protective order. No disclosure
               shall occur until all such objections are resolved by agreement or Court order.

       (f)     Independent litigation support services, including persons working for or as court
               reporters, graphics or design services, jury or trial consulting services, and


2
  For any such person, the curriculum vitae shall identify the person’s (i) current employer(s), and
(ii) any litigation (by name and number of the case and court) in connection with which they have
offered expert testimony, including through a declaration, report, or testimony at a deposition or
trial, during the preceding five years. If such consultant or expert believes any of this information
is subject to a confidentiality obligation to a third-party, then they should provide whatever
information can be disclosed without violating any confidentiality agreements, and the Party
seeking to disclose Protected Material to the consultant or expert shall be available to meet and
confer with the producing Party regarding any such engagement.


                                                  4
     Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 6 of 17




             photocopy, document imaging, and database services retained by counsel and
             reasonably necessary to assist counsel with the litigation of this Action.

     (g)     The Court and its personnel.

6.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

     upon a good faith belief that the documents, information or material contains confidential

     or proprietary information or trade secrets of the Party or a Third Party to whom the Party

     reasonably believes it owes an obligation of confidentiality with respect to such documents,

     information or material.

7.   Documents, information or material produced pursuant to any discovery request in this

     Action, including but not limited to Protected Material designated as DESIGNATED

     MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

     be used for any other purpose. Any person or entity who obtains access to DESIGNATED

     MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

     duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or any

     portion thereof except as may be reasonably necessary in the litigation of this Action. Any

     such copies, duplicates, extracts, summaries, or descriptions shall be classified

     DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.   To the extent a producing Party believes that certain Protected Material qualifying to be

     designated “CONFIDENTIAL” is so sensitive that its dissemination deserves even further

     limitation, the producing Party may designate such Protected Material “HIGHLY

     CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or to the extent such Protected

     Material includes computer source code (i.e., a text listing of computer instructions,

     commands and data definitions expressed in a form suitable for input to an assembler,

     compiler, or other translator) and/or live data (that is, data as it exists residing in a database



                                                 5
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 7 of 17




      or databases) (“Source Code Material”), the producing Party may designate such Protected

      Material as “HIGHLY CONFIDENTIAL – SOURCE CODE.”

9.    For Protected Material designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

      ONLY,” access to, and disclosure of, such Protected Material shall be limited to individuals

      listed in paragraphs 5(a–b) and (e–g).

10.   For Protected Material designated “HIGHLY CONFIDENTIAL – SOURCE CODE,” the

      following additional restrictions apply:

      (a)    Location of Production: Any source code produced in discovery shall be made
             available for inspection at a mutually agreed upon location.

      (b)    Format for Production: The source code is to be provided in native, computer
             searchable format with the original path names (e.g., the directory tree pertinent to
             the produced files). Native format means electronic files in the format that they are
             kept and used by the producing Party in the ordinary course of its business
             containing native text not produced through any process involving optical character
             recognition.

      (c)    Times for Inspection: The receiving Party will make its initial request to view
             source code at least ten (10) business days in advance of the proposed date of
             inspection, and not less than five (5) business days in advance of any requested
             inspection thereafter. The receiving Party shall make reasonable efforts to restrict
             its requests to inspect source code to normal business hours, which for purposes of
             this paragraph shall be 8:00 a.m. through 5:00 p.m. However, upon reasonable
             notice from the receiving Party (which notice must include a specific, reasonable
             justification as to why the requested inspection could not take place during normal
             business hours), the producing Party shall make reasonable efforts to accommodate
             the receiving Party’s requests to inspect the source code outside of normal business
             hours.

      (d)    Source Code Computers: The source code shall be made available for inspection
             on two stand-alone, password protected, computers (“Source Code Computer”) in
             a secured room without Internet access or network access to other computers
             equipped with two display screen or monitors of a size of at least twenty-two (22)
             inches, a full-size keyboard, and a mouse, and the receiving Party shall not copy,
             remove, or otherwise transfer any portion of the source code onto any recordable
             media or recordable device. The producing Party shall provide the receiving Party
             with information explaining how to start, log on to, and operate the Source Code
             Computers in order to access the produced source code. The producing Party shall
             provide the receiving Party’s source code reviewers with an unmonitored “breakout
             room” that is separate from the room containing the Source Code Computer(s)


                                                 6
Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 8 of 17




      where the source code reviewers may securely keep their personal belongings
      including any electronic devices such as cellular phones and computers and may
      make and receive phone calls and conduct other work. The receiving Party’s source
      code reviewers shall be provided with Internet access in said breakout room.

(e)   Monitoring: The producing Party may visually monitor the activities of the
      receiving Party’s representative during source code review, provided that the
      monitoring takes place either from the entrance doorway to the review room or
      through an external window into the room, and provided that the screens of the
      Source Code Computer is not visible to the producing Party. Such monitoring may
      take place only to ensure that no unauthorized electronic records of the source code
      are being created or transmitted. This paragraph does not authorize the producing
      Party to view or record the receiving Party’s work product; the producing Party is
      expressly prohibited from attempting to view or record such work product. The
      receiving Party’s work product includes without limitation: written notes,
      electronic notes, the screen of the Source Code Computer during the inspection,
      and the keystrokes entered on the Source Code Computer during the inspection.

(f)   Note Taking: In addition to the Source Code Computer, the receiving Party’s
      outside counsel and/or expert may take notes relating to the source code material.
      The receiving Party’s outside counsel and/or expert may not copy the source code
      into the notes. However, the notes may include filenames, function names, variable
      names, and line numbers.

(g)   Source Code Review Software: The producing Party shall install on the Source
      Code Computers reasonable analysis tools appropriate for the type of source code
      being made available for inspection thereon. The receiving Party may request that
      additional commercially available licensed software tools for reviewing and
      searching source code be installed on the Source Code Computer. The receiving
      Party must provide the producing Party with a CD/DVD/USB drive or file share
      link containing such software tool(s) or a link for downloading such software
      tool(s), and any necessary licenses, at least seven (7) days in advance of the date
      upon which the receiving Party wishes to have the additional software tools
      available for use on the Source Code Computer. The producing Party will install
      the foregoing requested tools; however, the producing Party will not install any
      tools that permit the compiling of source code.

(h)   Requesting Paper Copies of Source Code: The receiving Party may request paper
      copies of up to 500 pages of source code with not more than 25 consecutive pages
      that are reasonably necessary for the preparation of court filings, pleadings, expert
      reports, or other papers, or for deposition or trial, but shall not request paper copies
      for the purposes of reviewing the source code other than electronically as set forth
      herein in the first instance. If the receiving Party requests additional pages beyond
      the 300-page limit prescribed herein, the Parties will meet and confer to discuss the
      reasonableness of the receiving Party’s request. The producing Party will not
      unreasonably withhold its consent to such additional pages. The producing Party
      shall provide any requested paper copies of source code by hand delivery, Federal


                                         7
Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 9 of 17




      Express (tracking capability required), or other similarly reliable courier (tracking
      capability required) sent within two (2) business days of the request. Such paper
      copies shall be in paper form including Bates numbers and the label “HIGHLY
      CONFIDENTIAL – SOURCE CODE.” The receiving Party shall maintain all
      paper copies of any printed portions of the source code in a secured, locked area.
      The receiving Party may also temporarily keep the paper copies at: (1) the Court
      for any proceedings relating to the source code; (2) the sites where any depositions
      relating to the source code are taken; and (3) any intermediate location reasonably
      necessary to transport the paper copies (e.g., a hotel prior to a Court proceeding or
      deposition). Source code kept in these locations must still be maintained in a
      secured, locked area—e.g., a locked safe in a hotel room or a locked room in a
      courthouse or deposition room—at all times when it is not being used. Upon
      request by the producing Party, the receiving Party shall provide reasonable
      assurances and/or descriptions of the security measures employed by the receiving
      Party and/or qualified person that receives a copy of any portion of the source code.

(i)   Log of Paper Copies of Source Code: The receiving Party shall maintain a record
      of any individual who has inspected any portion of the source code in paper form.
      The record shall include the names of the recipients and reviewers of copies.

(j)   Additional Copies of Paper Copies of Source Code: The receiving Party shall
      not create any electronic or other images of the paper copies and shall not convert
      any of the information contained in the paper copies into any electronic format.
      The receiving Party shall be permitted to make up to two additional paper copies of
      printed source code. Additional paper copies are permitted if such additional copies
      are (1) necessary to prepare court filings, pleadings, or other papers (including a
      testifying expert’s expert report), (2) necessary for deposition, or (3) otherwise
      necessary for the preparation of its case.

(k)   Use of Source Code at Depositions: Any paper copies used during a deposition
      shall be retrieved by the producing Party at the end of each day and must not be
      given to or left with a court reporter or any other unauthorized individual.

(l)   Use of Source Code in Pleadings and Other Documents: A receiving Party may
      include excerpts of source code in a pleading, exhibit, expert report, discovery
      document, deposition transcript, or other Court document, provided that the source
      code documents are appropriately marked under this Protective Order, restricted to
      those who are entitled to have access to them as specified herein, and, if filed with
      the Court, filed under seal in accordance with the Court’s rules, procedures and
      orders. To the extent portions of source code are quoted in such a document, the
      parties shall attempt to either (1) stamp the entire document as “HIGHLY
      CONFIDENTIAL – SOURCE CODE” or (2) separately stamp those pages
      containing quoted source code as “HIGHLY CONFIDENTIAL – SOURCE
      CODE.”

(m)   Transportation of Source Code: A producing Party’s source code may only be
      transported by the receiving Party at the direction of a person authorized to access


                                        8
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 10 of 17




              such materials to another person authorized to access such materials on paper via
              hand carry, Federal Express (tracking capability required), or other similarly
              reliable courier (tracking capability required).

11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that is

      designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and/or

      “ HIGHLY CONFIDENTIAL – SOURCE CODE” and directed to technical information

      relevant to the case, but excluding financial data or non-technical business information

      (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, or otherwise

      learns, in whole or in part, the other Party’s HIGHLY SENSITIVE MATERIAL under this

      Order shall not prepare, prosecute, supervise, or assist in the preparation or prosecution of

      any patent application pertaining to the field of the invention of the patents-in-suit during

      the pendency of this Action and for one year after its conclusion, including any appeals or

      two years after such person last reviewed the HIGHLY SENSITIVE MATERIAL,

      whichever is earlier. These prohibitions shall not preclude the parties’ litigation counsel

      from participating in any inter partes review, CBM, or post-grant review proceedings,

      provided there is no attempt to amend any claims in the proceedings by any counsel for

      patent owner during the course of the proceedings. To ensure compliance with the purpose

      of this provision, each Party shall create an “Ethical Wall” between those persons with

      access to HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of the

      Party or its acquirer, successor, predecessor, or other affiliate, prepare, prosecute, supervise

      or assist in the preparation or prosecution of any patent application pertaining to the field of

      invention of the patent-in-suit.

12.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work


                                                 9
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 11 of 17




      product doctrine, or other privilege, doctrine, or immunity.        Pursuant to Fed. R.

      Evid. 502(d), if documents, information or other material subject to a claim of attorney-

      client privilege, work product doctrine, or other privilege, doctrine, or immunity is

      inadvertently or unintentionally produced, such production shall in no way prejudice or

      otherwise constitute a waiver of, or estoppel as to, any such privilege, doctrine, or

      immunity.      Any Party that inadvertently or unintentionally produces documents,

      information or other material it reasonably believes are protected under the attorney-client

      privilege, work product doctrine, or other privilege, doctrine, or immunity may obtain the

      return of such documents, information or other material by promptly notifying the

      recipient(s) and providing a privilege log for the inadvertently or unintentionally produced

      documents, information or other material.     The recipient(s) shall immediately gather and

      return all copies of such documents, information or other material to the producing Party,

      except for any pages containing privileged or otherwise protected markings by the

      recipient(s), which pages shall instead be destroyed and certified as such to the

      producing Party.

13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities.

14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

      the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) identified in the

      DESIGNATED MATERIAL as an author, addressee, or copy recipient of such information,




                                               10
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 12 of 17




      (ii) although not identified as an author, addressee, or copy recipient of such

      DESIGNATED MATERIAL, has, in the ordinary course of business, seen such

      DESIGNATED MATERIAL, (iii) a current officer or director of the producing Party or a

      designee under Fed. R. Civ. P. 30(b)(6) to testify on behalf of the producing Party;

      (iv) counsel for a Party, including outside counsel and in-house counsel (subject to

      paragraph 9 of this Order); (v) an independent contractor, consultant, and/or expert

      retained by the producing Party for the purpose of this litigation; or (vi) other persons

      entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL

      shall not be disclosed to any other persons unless prior authorization is obtained from

      counsel representing the producing Party or from the Court.

15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any portion

      thereof as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

      ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to this Order.

      Access to the deposition or hearing transcript so designated shall be limited in accordance

      with the terms of this Order. Until expiration of the 30-day period, the entire deposition

      or hearing transcript shall be treated as “HIGHLY CONFIDENTIAL – ATTORNEYS’

      EYES ONLY.”

16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing Party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing.      Exhibits to a filing shall conform




                                                11
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 13 of 17




      to the labeling requirements set forth in this Order.     If a pretrial pleading filed with the

      Court, or an exhibit thereto, discloses or relies on confidential documents, information, or

      material, such confidential portions shall be redacted to the extent necessary and the

      pleading or exhibit filed publicly with the Court.

17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court.

18.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn.                  If the producing Party does not

      agree to re-designation within ten (10) days of receipt of the written request, the requesting

      Party may apply to the Court for relief. Upon any such application to the Court, the burden

      shall be on the producing Party to show why its classification is proper. Such application

      shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

      Procedure 37, subject to the Rule’s provisions relating to sanctions.           In making such

      application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

      of the Court shall be met.      Pending the Court’s determination of the application, the

      designation of the producing Party shall be maintained.

19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that they are subject to the terms and conditions of this Order, and

      shall sign an acknowledgment that they have received a copy of, has read, and has agreed

      to be bound by this Order. A copy of the acknowledgment form is attached as Exhibit A.




                                                12
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 14 of 17




20.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

      ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” any documents,

      information, or other material, in whole or in part, produced or given by such Third Parties.

22.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

      descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

      into any privileged memoranda of the Parties and materials which have been admitted into

      evidence in this Action), shall at the producing Party’s election either be returned to the

      producing Party or be destroyed. The receiving Party shall verify the return or destruction

      by affidavit furnished to the producing Party, upon the producing Party’s request.

23.   The failure to designate documents, information or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

24.   Any Party knowing or believing that any other Party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing




                                               13
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 15 of 17




      Party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by the

      Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

25.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary and

      confidential nature of the documents, information or other material or its contents.

26.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

27.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

      Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

      if reasonably necessary to prepare and present this Action and (b) to apply for additional

      protection of DESIGNATED MATERIAL.




                                                 14
      Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 16 of 17




                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


WSOU INVESTMENTS, LLC D/B/A                         Nos. 6:20-cv-00812-ADA
BRAZOS LICENSING AND DEVELOPMENT,                        6:20-cv-00813-ADA
                                                         6:20-cv-00814-ADA
             Plaintiff,                                  6:20-cv-00815-ADA
                                                         6:20-cv-00902-ADA
      v.                                                 6:20-cv-00903-ADA
JUNIPER NETWORKS, INC.,

             Defendant.


                                    EXHIBIT A
                      UNDERTAKING REGARDING PROTECTIVE ORDER

      I, ___________________________________________, declare that:

1.    My address is _________________________________________________________.

      My current employer is _________________________________________________.

      My current occupation is ________________________________________________.

2.    I have received a copy of the Protective Order in this action. I have carefully read and

      understand the provisions of the Protective Order.

3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

      will not disclose to anyone not qualified under the Protective Order, and will use only for

      purposes of this action any information designated as “CONFIDENTIAL,” “HIGHLY

      CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

      SOURCE CODE” that is disclosed to me.

4.    Promptly upon termination of these actions, I will return all documents and things

      designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

      ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” that came into my



                                               1
     Case 6:20-cv-00815-ADA Document 74-2 Filed 06/07/21 Page 17 of 17




      possession, and all documents and things that I have prepared relating thereto, to the

      outside counsel for the Party by whom I am employed.

5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

      Protective Order in this action.

      I declare under penalty of perjury that the foregoing is true and correct.



Signature ________________________________________


Date ____________________________________________




                                                2
